                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA                     :
                                             :
      v.                                     :
                                             :     Criminal Indictment No.
TODD CHRISLEY a/k/a MICHAEL                  :
TODD CHRISLEY, et al.                        :
                                             :     1:19-CR-297-ELR-JSA
      Defendants                             :
                                             :
                                             :

DEFENDANT TODD CHRISLEY’S MEMORANDUM IN SUPPORT OF A
             BELOW GUIDELINE SENTENCE



      COMES NOW, defendant Todd Chrisley, by and through his undersigned

counsel, and respectfully submits his Memorandum in Support of a Below

Guideline Sentence to this Honorable Court for consideration of the legal

arguments and circumstances set forth herein, and in support thereof states as

follows:

           I.    INITIAL ADVISORY GUIDELINE CALCULATION

      The Presentence Report (PSR) calculates Mr. Chrisley’s sentencing

guidelines at a Total Offense Level 42. Should the Court accept the PSR analysis,

Mr. Chrisley’s Offense Level of 42 would yield a corresponding sentencing range

of 360 months to life imprisonment. The Government in its sentencing
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memorandum places the Total Offense Level at 37, with custody guideline range

of 210 – 262 months.

      However, as detailed in Mr. Chrisley’s Corrections and Objections to the

Presentence Report, the correct guidelines and sentencing range is much lower.

Under U.S.S.G. §2B1.1, the Base Offense Level for the bank fraud offenses is

level 7. Pursuant to §2B1.1(b)(1)(J), an additional eighteen levels is added.

Coupled with a two-point increase for role in the offense pursuant to U.S.S.G

§3B1.1, and a two-point increase for $1,000,000.00 from financial institutions

under U.S.S.G §2B1.1(6)(17)(K), the Adjusted Offense Level for the bank fraud

offenses totals 29.

      Regarding the tax offenses, the Base Offense Level for violations of 18

U.S.C. §371 and 26 U.S.C. §7201 is U.S.S.G. §2T1.1, §2T1.9 and §2T4.1, is 20.

The advisory guideline range for Offense Level 29, with criminal history category

I results in a Custody Guideline Range of 97 – 108 months.



                      II.   THE PURPOSE OF SENTENCING

      The purpose of the Sentencing Guidelines is to provide guidance to the

courts in fashioning a sentence that achieves an appropriate measure of punishment

using uniform metrics. But the Guidelines range is only one factor for the Court to

consider, and ultimately the Court is free “to reject (after due consideration) the

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advice of the Guidelines.” Kimbrough v. United States, 552 U.S. 85, 113 (2007)

(Scalia, J. concurring). Ultimately, the Guidelines should inform the court that a

reasonable sentence should be within a certain range, though unique characteristics

of the defendant or the circumstances of the offense are blended into the final

decision after the Guideline range is set. The goal, of course, is for the court to

arrive at a sentence that is sufficient, but not greater than necessary, to achieve the

legitimate goals of sentencing; that is, a just result.

      The Guidelines calculation contained in the PSR and offered by the

Government in this case defeats that very mission. Not only does the calculation

result in a sentence range that equates the defendant to murderers or international

terrorists, it is also based on a methodology that is fundamentally flawed, rooted in

speculation, contrary to objective empirical evidence, and inherently unreliable.



                             III.   LEGAL STANDARD

      When a defendant “objects to a fact contained in the PSR, the Government

bears the burden of proving that disputed fact by a preponderance of the evidence.”

United States v. Martinez, 584 F.3d 1022, 1027 (11th Cir. 2009) (citing United

States v. Rodriguez, 398 F.3d 1291, 1296 (11th Cir. 2005)). The Eleventh Circuit

has mandated that “the preponderance standard is not toothless. It is the district

court’s duty to ensure that the Government carries this burden by presenting

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reliable and specific evidence.” United States v. Bernardine, 73 F.3d 1078, 1080

(11th Cir. 1996).

       If the Court finds the Government has presented proper evidence, the Court

must then either: “(1) make an explicit factual finding as to the allegation; or (2)

determine that no such finding is necessary because the matter controverted will

not be taken into account in sentencing the defendant.” United States v. Lawrence,

47 F.3d 1559, 1566 (11th Cir. 1995).



 IV.    THE GOVERNMENT FAILS TO SHOW THAT THE GUIDELINES

             ENHANCEMENTS IT SEEKS ARE APPROPRIATE.

       A. The Offense Did Not Cause Victims to Suffer A Loss of More Than

          $9,500,000.00.

       In all economic crime cases, the court must determine the amount of “loss”

associated with the offense which, according to the Guidelines’ general definition,

is “the greater of actual loss or intended loss.” U.S.S.G. §2B1.1; United States v.

Stein, 846 F.3d 1135 (11th Cir. 2017); United States v. Cobb, 842 F.3d 1213 (11th

Cir. 2016); United States v. Massam, 751 F.3d 1229 (11th Cir. 2014). Although the

district court may estimate the amount of loss, it cannot “speculate about the

existence of facts and must base its estimate on reliable and specific evidence.”




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United States v. Ford, 784 F.3d 1386, 1396 (11th Cir. 2015; accord United States v.

Sepulveda, 115 F.3d 882, 890-91 (11th Cir. 1997).

      Under the Guidelines, “[a]ctual loss… is defined as the ‘reasonably

foreseeable pecuniary harm that resulted from the offense.’” United States v.

Campell, 765 F.3d 1291, 1302 (11th Cir. 2014) (quoting U.S.S.G. §2B1.1 cmt.

N.3(A)(i)). This definition “incorporates [a] causation standard that, at a minimum,

requires factual causation (often called ‘but for’ causation) and provides a rule for

legal causation (i.e., guidance to courts regarding how to draw the line as to what

losses should be included and excluded from the loss determination).” U.S.S.G

App. C, Vol. II at 178, Amend. 617 (Nov. 1, 2001).

      The Supreme Court has explained that statutory phrases like “resulted from”

require at least a showing of but-for causation, particularly in the context of

enhancing a defendant’s sentence for harm allegedly resulting from the offense.

Burrage v. United States, 571 U.S. 204, 134 S. Ct. 881, 887-891 (2014). The

Eleventh Circuit has also stated that the imposition of a loss enhancement at

sentencing, “require[s] a calculation of the greater of actual or intended loss

defendant caused.” United States v. Willis, 560 F.3d 1246, 1248 (11th Cir. 2009)

(emphasis added).

      Because of the importance in this case of the principles of causation that

must be applied, it bears repeating: the Guidelines require the Court to determine

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loss under two causation standards: “but for” causation and “proximate cause.”

United States v. Olis, 429 F.3d 540, 546 (5th Cir. 2005). See, e.g., United States v.

Hicks, 217 F.3d 1038, 1048-49 (9th Cir. 2000); United States v. Ednie, 707 F.

App’x 366 (6th Cir. 2017); United States v. Marlatt, 24 F.3d 1005, 1007 (7th Cir.

1994) (“[there is a] difference between ‘but for’ causation and the causation – for

which the presence of but-for causation is ordinarily a necessary condition but

rarely a sufficient one—that imposes legal liability. The distinction runs

throughout the law. Criminal law is no exception”) (emphasis added)). A but-for

cause of a hard is one without which the harm would not have happened. United

States v. George, 949 F.3d 1181, 1187 (9th Cir. 2020).

      District courts must take a “realistic, economic approach to determine what

losses the defendant truly caused or intended to cause.” United States v. West

Coast Aluminum Heat Treating Co., 265 F. 3d 986, 991 (9th Cir. 2011).

      Though the Government’s argument ignores this principle, it is basic

fundamental law that “courts must not speculate concerning the existence of a fact

which would permit a more severe sentence under the guidelines.” Sepulveda, 115

F.3d at 890 (internal citation and quotation marks omitted). The loss suffered as a

result of the bank loss does not exceed $9,000,000.00. Exact numbers will be

presented at the sentencing hearing.




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      B. The Evidence has failed to show the bank fraud scheme involved ten

          or more victims for the enhancement to apply.

       The Sentencing Guidelines provide for a two-level enhancement if the

offense involved ten or more victims. The Government has conceded that there

should be no enhancement under U.S.S.G. §2B1.1(6)(2)(A). The PSR argument is

insufficient to support the enhancement for several reasons. First, the information

is in summary form and omits any verifiable data in support of its conclusions.

Second, it is presented without opportunity for cross examination or challenge for

accuracy. Third, the PSR appears to include at least two (2) financial institutions

that the Government admits suffered no loss related to the defendant’s loans.

Fourth, the Government has presented no evidence that the defendant purposefully

intended to defraud any of these banks, as is required under United States v.

Ridling, 21-10777, 2022 WL 4134423 (11th Cir. Sept. 13, 2022). For all of these

reasons, the two-level enhancement should not apply. U.S.S.G. §2B1.1 (b)(2)(A).

       Key to this enhancement is that the “offense” caused “substantial financial

hardship” to ten or more victims. United States v. George, 949 F. 3d 1181, 1187-88

(9th Cir.), cert. denied, 141 S. Ct. 605 (2020) (“Section 2B1.1(b)(2) refers to

conduct that ‘resulted in’ substantial financial hardship, language that we have

interpreted to impose a causation requirement.”) (internal citations omitted). What

is conspicuously absent from the Government’s analysis is any reference to this

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key causation requirement. Instead, it just refers generally to FDIC sales of

Chrisley loans to third parties at discounted amounts, notwithstanding the

requirement of proving that the Defendant caused the reduction.

       It is well-established that the court must consider whether the financial

hardship was “substantial,” and determine whether the offense “caused” the

hardship. George, 949 F.3d at 1187; United States v. Jones, 823 F. App’x 837,

842-24 (11th Cir. 2020) (“Among the factors to consider in determining whether

the offense caused the victim substantial financial hardship is whether the crime

resulted in a victim suffering substantial loss.” (internal quotations omitted));

United States v. Davis, No. 15CR02471PJSSER, 2017 WL 1423178, at *2-3 (D.

Minn. April 21, 2017) (holding that victim nonprofit’s entry into receivership was

not caused by the money stolen by the defendant and thus substantial financial

hardship had not been established.) In George, the court established that either but-

for or proximate causation would suffice under the express language of the

Guidelines. 949 F.3d at 1187. It further articulated that the Government’s evidence

established the requisite casual link under either theory. First, the defendant’s

actions were the direct cause of the substantial financial hardship when the

hardship was the loss of a home and the fraud had been the inducement to stop

making mortgage payments. Id. (emphasis added). Second, the consequences of

the actions were foreseeable under a theory of proximate cause because the

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defendant knew he was supplying false information and was instructing victims to

stop paying the mortgages. Id. at 118 (emphasis added).

       The casual requirement is not a mere formality. Courts can, and should,

decline to apply the enhancement where, as is the case here, causation cannot be

established from the evidence provided. See, e.g., United States v. MacCallum, No.

1:15-CR-00204 EAW, 2018 WL 2999907, at *12 (W.D.N.Y. June 15, 2018), aff’d

and remanded, 821 F. App’x 11 (2d Cir. 2020) (distinguishing between identified

victims whose losses were caused by the defendant’s scheme and those where

causation could not be found for purposes of analysis under the Guidelines’

substantial financial hardship standard); Davis, 2017 WL 1423178, at *2

(Government had not proved a substantial financial hardship where defendant

“stole a lot of money, but his thievery was not the direct cause of the failure of

[victim]”) (emphasis in original).

       The PSR simply omits this fundamental requirement in its legal argument

and does not address this critical analysis when referring to banks that failed and

were taken over by the FDIC, not as a result of the loans made to the defendant. In

essence, the PSR conflates the causation requirement of U.S.S.G. §2B1.1(b)(2)(A)

with the non-exhaustive list of hardship factors provided in U.S.S.G. §2B1.1, cmt.

n.4(F). It is without dispute that the substantial financial hardship analysis works

on a “sliding scale” whereby the standard for “substantial” turns on the

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individualized circumstances of the victim rather than on the dollar amount of the

loss. See United States v. Castaneda-Pozo, 877 F.3d 1249,1253 (11th Cir. 2017).

       Application of U.S.S.G. §2B1.1(b)(2)(A) must be supported by a

preponderance of the evidence, and the government bears the burden. United States

v. Chukwu, 842 F. App’x 314, 321 (11th Cir. 2021); see also United States .

Marino, 492 F. Supp. 3d 920, 922 (D. Neb. 2020) (citing United States v.

Mitchell,825 F.3d 422, 425 (8th Cir. 2016)). Furthermore, evidence of the loss must

be attributable to a victim of the defendant’s conduct. See United States v.

Buckman, No. CR 14-540, 2019 WL 142385, at *6 (E.D. Pa. Jan. 8, 2019), aff’d

811 F. App’x 73 (3d Cir. 2020) (refusing to increase the enhancement from two

levels to four when the government included both homeowners and lenders in the

calculation of victims but only homeowners suffered a hardship).

         B. The Offense Did Not Involve Sophisticated Means.

      Mr. Chrisley objects to application of the 2-level enhancement under

U.S.S.G. §2B1.1(b)(10)(C) for purported use of “sophisticated means” in the

execution or concealment of the offense conduct. Because the Government has

failed to meet its burden to show that either the execution or the alleged

concealment of the offense was sufficiently complex or intricate, the Court should

decline to impose this enhancement.




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      The Guidelines provide for a two-level enhancement if the offense involved

“sophisticated means.” U.S.S.G. §2B1.1(b)(10)(C). “Sophisticated means” refers

to “especially complex or especially intricate conduct pertaining to the execution

or concealment of an offense.” U.S.S.G. §2B1.1 cmt. n.9(b) (emphasis added). In

the Eleventh Circuit, “especially complex” or “especially intricate” schemes are

characterized by conduct far beyond the offense conduct here. The hallmarks on an

offense for which the sophisticated means enhancement applies involve “conduct

such as hiding assets or transactions, or both, through the use of fictitious entities,

corporate shells, or offshore financial accounts.” United States v. Ghertler, 605

F.3d 1256, 1267 (11th Cir. 2010) (citing §2B1.1 cmt. n.9(b) (alteration omitted));

see also United States v. Zamora, 484 F. App’x 414, 415 (11th Cir. 2012)

(affirming “sophisticated means” enhancement where "the scheme involved a shell

company, used a nominee as president to shield the true owners, created fictitious

patient files using the identities of real people, and required use of intricate

Medicare lien and reimbursement processes”); United States v. Dinnall, 313 F.

App’x 241, 245 (11th Cir. 2009) (enhancement applied where defendant, an

accountant, used specialized knowledge gained to misuse Social Security numbers

to deceive multiple loan underwriters); United States v. Robertson, 493 F.3d 1322,

1332 (11th Cir. 2007) (enhancement was appropriate where defendant perpetrated

fraud by using fake names and addresses to conceal his identity). The enhancement

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also has been applied “where defendants have engaged in concealment of their

crimes in a variety of ways not expressly stated in the Application Note.” United

States v. Feaster, 798 F.3d 1374, 1378 (11th Cir. 2015). But “the enhancement is

proper when the execution, not just the concealment, of the offense is intricate.”

United States v. Fowler, 213 F. App’x 788, 791 (11th Cir. 2007) (citing U.S.S.G.

§2B1.1(b)(8) cmt. n.6) (emphasis in original).

      Here, the offense conduct was not sophisticated: it consisted merely of the

submission of inflated financial statements or inflated bank statements to financial

institutions by Mark Braddock. Each financial statement was virtually the same,

overstating the value of Todd Chrisley’s brokerage account. That would not rise to

the level of conduct sufficient to warrant a sophisticated-means enhancement.

      Critically, the offense conduct here did not involve any of the indicators of

the “sophisticated” scheme, such as “hiding assets or transactions, or both, through

the use of fictitious entities, corporate shells, or offshore financial accounts.”

Ghertler, 605 F.3d at 1267.

           V.     REQUEST FOR A BELOW GUIDELINE SENTENCE

      Whatever the final Guideline is determined to be, 18 U.S.C. §3553(a) factors

support a sentence below the Guideline range.

      A sentencing court is to sentence a defendant to a reasonable sentence. In

order to be reasonable, a sentence must achieve the purposes of sentencing as

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stated in 18 U.S.C. §3553(a). United States v. Talley, 431 F.3d 784, 788 (11th Cir.

2005). The sentence must be “sufficient but not greater than necessary.” A district

court shall fashion a reasonable individualized sentence based on §3553(a) factors.

See, United States v. Gall, 128 S.C.t 586 (2007); United States v. Williams, 435

F.3d 1350, 1354 (11th Cir. 2006).

      Under §3553(a), the Court considers a number of factors in determining the

appropriate sentence, including “the nature and circumstances of the offense and

the history and characteristics of the defendant; the need for the sentence ‘to reflect

the seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense;’ the need to deter criminal conduct and ‘protect the

public;’ the sentencing range provided for in the Guidelines; and the ‘need to avoid

unwarranted sentence disparities.’” These factors, particularly those set forth in

§3553(a)(2)(6) and (7) are pertinent in this case.

      A.      Under 18 U.S.C. §3553(a)(2), the law requires the Court to consider

the need for the sentence imposed:

      (a) To reflect the seriousness of the offense, to promote respect for the law,

           and to provide just punishment for the offense;

      (b) To afford adequate deterrence to criminal conduct;

      (c) To protect the public from further crimes of the defendant; and




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        (d) To provide the defendant with needed educational or vocational training,

            medical care, or other correctional treatment in the most effective

            manner.

        After consideration of these factors, the defendant respectfully submits that a

sentence of limited incarceration combined with supervised release to follow is

appropriate.

        (a) To reflect the seriousness of the offense, to promote respect for the law,

            and to provide just punishment for the offense.

        (b) To afford adequate deterrence to criminal conduct.

        The crimes of which the defendant was convicted are serious offenses. The

sentence must reflect that seriousness, but must take into consideration all of the

circumstances. Recognition of the seriousness and the need for deterrence is

satisfied by a below Guideline sentence in view of the age of the offenses. The

bank fraud offenses of conviction occurred at least ten (10) years ago, some as long

as sixteen (16) years. 1 The tax offenses, which are based on the failure to file

timely returns and submit concurrent tax payments date back to 2010. At present,

no taxes are owed for the additional years included in the indictment. The offenses

of conviction, although serious, were committed long ago, and their age should be



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 Count 1 charges a bank fraud conspiracy running from 2006-2012. Counts 2-6 charge substantive bank fraud
offenses occurring in 2009 and 2010.

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considered as a factor that mitigates the need for punishment. And the need to

impose a lengthy sentence of incarceration is not necessary to deter criminal

conduct by the defendant as the offenses are historical.

      (c) To protect the public from further crimes of the defendant.

      The Supreme Court has recognized the likelihood that a defendant will

engage in future criminal conduct is a central factor to be assessed when imposing

sentence. Pepper v. United States, 131 S.Ct. 1229, 1242 (2011).

      Todd Chrisley is fifty-four (54) years old. Given the defendant’s age, lack of

serious criminal history and the time that has passed since the offending conduct, a

lengthy prison sentence is not needed to protect the public from the defendant.

      (d) To provide the defendant with needed educational or vocational training,

         medical care, or other correctional treatment in the most effective

         manner.

      The defendant does not require the services of the Bureau of Prisons for

educational or vocational training, medical care, or other correctional treatment. A

sentence of limited incarceration would allow him to qualify for placement by the

Bureau of Prisons to a facility of minimum or low security consistent with his

needs and low security risk.

              B.    Need to Avoid Unwarranted Sentence Disparities




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      §3553(a)(6) directs the Court to consider in imposing a sentence the need to

avoid unwarranted sentence disparities among defendants with similar records who

have been found guilty of similar conduct. While not directly addressed in (a)(6),

the Court is asked to nonetheless consider that unindicted co-conspirator Mark

Braddock has not and will not receive any punishment for his orchestration of the

bank fraud conspiracy and substantive offenses. Remarkably, Braddock has not

even been required to forfeit the proceeds of his theft, which has allowed him to

not only be the driving force behind the prosecution in this case but also get away

with the proceeds he embezzled from the Chrisleys or the banks that provided the

loans in this case. Trial testimony and evidence made clear that Braddock prepared

each and every false financial statement and bank statement; personally submitted

all fraudulent documents to the financial institutions; communicated on behalf of

himself and Todd Chrisley with the banks; personally prepared each and every

loan application; and shared in the proceeds of each loan. Unlike the defendant,

Braddock will not be charged with any offenses, will not be required to repay any

of the loan proceeds as restitution, and will suffer no forfeiture of funds or

property. In addition, Braddock will not be prosecuted for federal offenses he

committed without the defendant, including bank fraud, tax fraud, perjury and BP

Oil fund fraud. Consideration of this factor, as a need to avoid unwarranted




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disparities favors a downward variance from defendant Chrisley’s advisory

Guidelines.

                        C.     Need to Provide Restitution

      §3553(a)(7) directs the Court to consider, when fashioning a reasonable

sentence, the “need to provide restitution to any victims of the offense.” While the

exact amount of restitution is still in question, it is clear that the defendant will be

responsible for the payment of millions of dollars in restitution. A lengthy sentence

of incarceration would delay any opportunity to continue to earn income to pay

restitution, and could even result in the total inability to obtain work following a

lengthy prison sentence. In the interest of making restitution, a below Guideline

sentence is respectfully requested.

        D.    The Defendant’s Age Supports A Below Guidelines Sentence Under

                                   18 U.S.C. §3553.

      The Federal Sentencing Guidelines, as originally promulgated in 1987,

provided that an individual’s age, health or mental health was “not ordinarily

relevant” in determining whether a sentence should be outside the applicable

guideline range. The Supreme Court effectively ended these limitations in United

States v. Booker, 543 US 220 (2005) and the Guidelines were amended as of

November 1, 2010 to provide that age, physical condition and mental health may




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be relevant. See U.S.S.G. §5H1.1 (age), 5H1.3 (mental and emotional conditions),

5H1.4 (physical condition) (November 1, 2012).

      The National Institute of Corrections defines prisoners fifty and older as

“elderly” and “aging.” See Dr. Joann B. Morton, An Administrative Overview of

the Older Inmate, U.S. Department of Justice, National Institute of Corrections,

4(1992). See also United States v. White, 506 Fd.3rd 635, 640 (8th Cir. 2007) (a

defendant’s age at 51 can and should be considered in sentencing.)

Because incarceration can be substantially more punitive for an older defendant

than the “heartland” offender, sentencing leniency based on older age promotes the

penal goals of imposing sufficient punishment and avoiding unwarranted

sentencing disparities under 18U.S.C §3553. Older prisoners, even if they are not

suffering illness, can find the ordinary rigors of prison particularly difficult

because of a general decline in physical and often mental functioning which effects

how they live in their environments and what they need to be healthy, safe, and

have a sense of wellbeing. See Human Rights Watch, Old Behind Bars – the Aging

Prison Population in the United States, at 7 (January 2012).

      Justification for considering age is that prison facilities rules and routines

were not created with older inmates in mind. As a result, ordinary incidents of

prison life may challenge those who are only middle-aged in the community at

large. These include climbing stairs to high tier cell blocks, getting into a top bunk

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with a low ceiling, walking long distances for meals and other services, standing in

lengthy lines for meals or pills, sleeping on thin mattresses, and enduring cold or

hot temperatures.

      Ordinary incidents of aging present special health risks to older prisoners.

Among other things, older inmates are more vulnerable to contagious diseases,

face increased risk of falls, require more frequent access to toilet facilities, and

require more prescription medications. See An Administrative Overview at 1-10.

They are also particularly vulnerable to the effects of over or under medicating,

and suffer disproportionately from a poor diet and limited exercise. Id.

      Even if the Bureau of Prisons could provide adequate care for an aged

defendant, this “misses the mark” when it comes to sentencing because the issue

under §3553 is the need to provide medical care “in the most effective manner.”

United States v. Wadena, 470 Fd.3rd 735, 739 (8th Cir. 2006).

      Any prison term is a larger portion of an older defendant’s remaining years

than it is of the “heartland” offender’s. Therefore, an older defendant’s shorter life

expectancy supports leniency based on the sentencing goals of proportionality and

avoiding unwarranted sentencing disparities.

      A lower rate of recidivism for older offenders is well-established and

supports leniency because it allows the sentencing purposes of deterrence and

protection of the public to be satisfied by a lesser term. See US Sentencing

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Commission Measuring Recidivism: the Criminal History Computation of the

Federal Sentencing Guidelines 12 (May 2014) (noting that recidivism declines

relatively consistently as age increases). There is overwhelming evidence that

prisoners age fifty and older are far less likely to return to prison for new crimes

than their younger cohorts.

      Todd Chrisley is fifty-four years old. He has suffered with fibromyalgia

since 2012. He takes several prescription medications to treat various symptoms of

the disease. In addition, he has been diagnosed with anxiety and is treated with

prescribed medication. Todd’s father died of complications from liver disease and

his younger brother Randy Chrisley is disabled due to crippling scoliosis and is

currently battling throat cancer. Todd’s mother, Elizabeth Faye Chrisley, age

seventy-seven, is battling bladder cancer. It is, therefore, predictable based upon

family history, that Todd will develop a life-shortening medical condition in the

near future.

      Todd’s medical condition, his age and health needs, whether the Bureau of

Prisons might be able to accommodate them or not, certainly support sentencing

leniency as he is not within the “heartland” of offenders. His age and medical

conditions would make imprisonment disproportionately harsh.




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      VI.    THE COMBINATION OF FACTORS SUPPORTS A BELOW

                                  GUIDELINE SENTENCE

      In fashioning a sentence in this case, this Court must look at Todd Chrisley

individually and consider the factors set forth in 18 U.S.C. §3553 in determining a

reasonable sentence for him.

      Consideration of all §3553(a) factors favors the imposition of a reasonable

custodial sentence in this case. A conviction in and of itself with the loss of the

right to vote, loss of employment and loss of reputation are significant punishment

and deterrence. Limited incarceration with supervised release and restitution will

reflect the seriousness of the offenses, promote respect for the law, provide just

punishment and afford deterrence. It will also provide the opportunity for

meaningful restitution. Such a sentence is sufficient but not greater than necessary

to comply with the purposes set forth in §3553(a).

      Todd Chrisley has no significant criminal history. There is little if any

concern that he will re-offend. The letters submitted by friends and business

associates evidence a history of good deeds and striving to help others. He is

charitable and giving. He is a good husband and father. He is a good son.

      As evidenced in the many letters of support submitted by folks from all

walks of life, (See Exhibit A) Todd Chrisley is greatly respected. A sample of these

comments are included below:

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                   Devotion To Family and Friends

    • “Todd is passionate about his family and his faith. Over the
years I have witnessed Todd put others before himself. Whether it was
with a witty joke, a hug or just words of encouragement, he is
determined to bring light in any difficult situation.
       I have known Todd for almost ten years while working on the
show. Todd made it a point to redirect the makeup of the show when
his biracial granddaughter Chloe was born. He made it more diverse
so that Chloe could see women of color in management and power
roles.
       Todd is a blessing to all who have had the opportunity to meet
him. His welcoming, non-judgmental spirit makes being in his
company even better.” – Aisha Jones

    • “The Chrisleys are as close to genuine family as is possible.
Their relationship is unlike anything I’ve experienced in my sixteen
years in this career as a television agent. In Hollywood, it is an
unwritten rule to never blur the lines between business and personal
relationships with clients. That is not the case with Todd and Julie.
       Simply put, the world is a better place because of the
selflessness and love that Todd and Julie show to anyone that comes
into their lives. That is the Todd and Julie Chrisley that I know. The
version of Todd and Julie that was painted by the prosecution is
totally antithetical to the people that we know and love.” – Lee White

   • “I have known Mr. Chrisley for fourteen years, which is more
than half of my life. I met Mr. Chrisley after his son, Chase, and I
became best friends while at Greater Atlanta Christian School. Mr.
Chrisley has been amazing to me and my family for all fourteen years
that we have known the Chrisley family. He is someone that I
consider to be a father figure for me. He has truly helped me become
the man I am today with his love and support. I thank God every day
that he blessed me with the opportunity to have Mr. Chrisley to be
part of my life.
                                  22
       In 2010, my father was deemed 100% disabled due to dementia.
At that point in my life, this was an extremely challenging obstacle for
me to comprehend and figure out how to handle. Mr. Chrisley poured
his love and encouragement into me during this time as if I was one of
his own children. He was the father figure that I needed to help shape
me into the man I needed to be in order to get through this challenging
time for my family. I had to become the man of the house and I
couldn’t have done that without Mr. Chrisley’s love and support for
me.
       I am shocked that these charges have been brought against Mr.
Chrisley and it breaks my heart to hear the proposed sentencing for
such an amazing man that has been such a crucial person in my life.
He is a roll model for myself and loving father to his children and
faithful husband to his wife. Mr. Chrisley is not a threat to society and
does not deserve to go to jail. It is my sincere desire that the court
takes this letter into consideration at this time of sentencing.” – Tyler
Cooksey

      • “When I look at Todd, I see a person who loves harder than
anyone I know. I see a true family man. I see the most loyal, caring,
hardworking, selfless, thoughtful, kind, genuine, and honest person
that I have ever come to know. I have seen this man take his shirt off
his back for someone both figuratively and literally. He has always
given to others and been so generous to those in need and those that
he valued their work ethic. It’s very rare to find someone who lives
such a public life, and also gives so much of his private time to others
and that’s a testament to how much he cares for people and how much
he wants to truly help others.
       Without his counsel around and most importantly his help, I
don’t think I would be alive today. I am hereby respectfully requesting
that you offer him a lesser sentence so that he can continue helping
me and many other people around the world, something that he has
always been doing. I strongly believe that a lesser sentence is most
appropriate in this situation.” – Nic Kerdiles

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      • “Todd and I have known each other since we were in grade
school, so that spans the last 40 years plus. From my earliest
memories of Todd and our friendship from childhood throughout
teenage years and adulthood, Todd has always been the type of friend
that has stood up for those that couldn’t or wouldn’t stand for
kindness or what was right and fair. Todd has always stood up for the
underdog and stood for kindness.
        When I gave birth to my first daughter, he was actually in the
delivery room with me. This was during one of the hardest times of
my life, being a single mother of a biracial child, and he never once
wavered on his feelings and love for me as well as my daughter, who
is, by the way, his goddaughter. Todd has always loved everyone and
always strives for fairness and inclusion. One of the many things I
admire.
        Todd has had his own family struggles with his oldest son,
Kyle, who was on drugs. Todd would drive the streets of Atlanta by
himself searching days on end for Kyle, and placed him in rehab after
rehab as well as a wilderness program, where Todd actually went and
stayed with Kyle in the woods to get him clean. Todd stepped in when
Kyle couldn’t care for his own daughter, Chloe, who happens to be
biracial. Todd adopted his own granddaughter without any thought or
hesitation, and only to be ridiculed and called the most horrible names
on the internet and publicly because Chloe is biracial. Again, Todd
showed nothing but grace, and carried on with nothing short of love
for his family and Chloe.
        I tell you these things so you will get a good idea of who you
are sentencing. Todd has always taken care of those closest to him and
loves and adores his family.” – Stephanie Grooms

     • “I am the personal assistant/house manager for the Chrisley
family, and have known Todd for over six years, having first started
my employment with their family in 2016 as a housekeeper. In
addition to my housekeeping responsibilities, I’ve filled in as an
interim nanny for the minor Chrisley children, and helped manage the

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homes of the older Chrisley children, Todd’s mother, and Todd’s in-
laws.
       Being with the family so much of the time has put me in a
position where I have been witness to countless interactions between
Todd and others as well as personal interactions with him, that I feel
are poignant in relation to Todd’s character, and I’d like to share some
of those with you. He senses another person’s struggle and while
many people wouldn’t be bothered, Todd doesn’t look the other way.
He steps in.
       Right from the start of my employment in 2016, Todd was very
invested in my role as a single parent who had recently escaped a
long-term abusive relationship. He would sit down at the kitchen
counter as I was doing dishes and ask how my children and I were
doing, or if there was anything that we needed that he could help with.
When Todd found out that my son was at risk of not being able to
enroll and attend his next semester at college due to a tuition balance I
couldn’t pay, he stepped in to be sure it was paid so he could continue
with his education, with no questions asked and no expectations of
repayment.
       I’ve experienced times when Todd felt I was being shown
disrespect by others as “just a housekeeper,” and immediately
reprimanded them, insisting that I be held in the highest regard and
given the respect I deserve. Those moments were instrumental in my
emotional and mental growth and helped validate my self-worth. He
has shown me true compassion and support when he had nothing to
gain from it, no publicity, no “look what I did” on social media.
       Most people don’t get the opportunity to see and know the
Todd that I do. They don’t know of the kindness he has extended to
myself, my family, and others. They don’t see him leading his family
in prayer at the dinner table each night, they don’t see him shed tears
of compassion for others that he sees in pain.
       I know the wrongdoings that Todd has been convicted of, yet
despite that, I feel compelled to share what I know of him, and that is
a kind, generous, compassionate man, and an innately good person.” –
Jill Palilla
                                   25
     • “I’ve always known him to be a caring friend and devoted
advocate for everyone. You can see the love he has for his family, but
the admirable role that he took on as a caregiver for his granddaughter
Chloe represents the essence of who he is outside of the stern but
comical persona that people see. As a black woman and as his friend,
it has upset me over the years to see some of the racist comments that
he has been subjected to for being a white man raising a bi-racial
child. Mr. Chrisley doesn’t allow those people to get to him. He
publicly speaks out against racism. Which makes me love and
appreciate him more as my friend.” – Candi Burruss-Tucker

     • “Since I’ve known Todd Chrisley he has been a loving
husband to Julie, very committed to raising his children and
grandchildren and providing for them. I hope you will consider that in
this day where many men leave their families, he has been steadfast in
his commitment to his family; he is present for them.” – Rhonda
Polhill

     • “I am writing to you on behalf of my childhood and lifelong
friend, Todd Chrisley. In 2017 my son, who was twenty-eight at the
time, had a massive stroke. His life hung in the balance for over two
weeks and he had to be put on a ventilator. I will never forget Todd
reaching out to me, offering his help, his love and prayers. It was the
most stressful time of my life and I was so thankful that Todd was
available for me to talk to or text every day to give him updates of
Brewer’s condition even though he had a demanding schedule. He
was the same Todd I knew before fame—warm, caring and all about
what he could do to help me through the nightmare.
       Todd is a man who sees and is quick to help people who don’t
feel seen—the underprivileged and people who have been
marginalized.” – Sherry Bradshaw




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     • “I first met Todd fifteen years ago, as I was in school with his
son Chase. Todd leads his family through his faith, the two most
important things in his life. He cares deeply for each of his six
children and would do anything to give each of them a happy, healthy,
and purposeful life. The sacrifices I have seen Todd make for his
children has been eye-opening. He is a powerful father figure and
example for each of them.
       During my adult years, I have come to respect Todd more and
more each moment we spend together. He is the hardest working, and
most diligent person I know. Throughout his television career, Todd
has remained humble, yet has never stopped striving for greatness.
       Todd has spent over thirty years being a father to his children,
and I cannot imagine a day that he will not be able to be there for his
six. They depend on him just as Todd depends on them. I know the
thought of not being able to call them, let alone see them is truly
crushing Todd’s soul. They are quite literally the closest family I have
ever experienced. Their relationship is truly touching to witness, as
there is so much love.” – Madison Brainard

     • “I have known Mr. Chrisley for over fourteen years. I have
admired the way he has navigated life and continued to raise his two
oldest children even though their mother abandoned them at a young
age. Similarly, I admire the fact that he stepped in to adopt his son’s
bi-racial daughter without hesitation, knowing that his son was not
capable of raising her due to his own personal problems.
       Having known Todd to be such an honorable man, the fraud
case against him came as quite a shock.
       In 2010, my husband was deemed 100% disabled due to
dementia possibly caused by CTE. It was a tumultuous time for our
family, and I had three young sons to support. While many of our
friends turned their backs on us during that distressing time, Todd
stepped up and supported us in any way he could. He especially made
a great different in the life of my middle son throughout that rocky
time, and I doubt that my son would be the successful man he is today
had it not been for Todd Chrisley filling the gap when my husband
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could not. I am forever grateful that our son has a father figure like
Todd in his life.
       Another example of Todd’s character that stands out was when
he and his son showed up at my mother in-law’s funeral in a town far
from our home. We didn’t expect to see any of our friends there but
Todd made the trip out of sympathy and compassion for our family,
and it meant so much to all of us. There have been countless other
ways Todd has displayed his kindness to us over the years, and I know
he shows the same kind of care to many others in his broad sphere of
influence. The fame from their TV show has not changed his heart for
helping others.
       Despite the case against him, I believe that Todd is an
honorable man who lives up to high principles and is a valuable
member of our community.” – Cynthia A. Cookse

      • “I have had the privilege and honor to have known Todd and
his beautiful family since 1998. I have witnessed him raise his two
children from his first marriage, who visited frequently, along with his
three children with his wife Julie. He also embraced and lovingly
raised his granddaughter Chloe as his own. I have witnessed his close
relationship with all of his children throughout the many facets of life
and the struggles in raising a grandchild who has endured trauma and
experiences, anxiety and depression.
       Todd was a great source of strength through my divorce at the
time and was there for my children and I for many different reasons.”
– Isabel Pasqualone

      • “He works to take care of his family, but also helps countless
others. It may be a gift of a tank of gas for someone he sees at the gas
station, or food for someone in line at the grocery store, but he is
always aware of those in need.
       I have seen him grow in his faith over the last five years. He
places his life and the lives of his family in the hands of the One who
controls all.

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      His family is extremely important to him and he supports them
unconditionally. His love for his family is evident in all he does.
      Todd is also a good man. His heart is kind and caring. I trust
him and find him to be a rock-solid friend.” – Vera Carter

     • “For seventeen years, we have been and will always be
family. Our families were woven together by common threads—
values, faith, parenting, love, loyalty, honesty, and most crucial,
transparency. I can remember vividly calling Todd on the phone. The
school we shared was the first time I felt racism towards my children
and me. I was immersed in tears, hurt beyond belief, once I heard
Todd’s calming voice saying Mauri, do not worry. We will take care
of this. We will take care of those babies. Todd said, you know I love
those children. From that day forth, I knew and respected the
character of this man. Not only did he stand by his word given to a
single mother of three children. He has been there for us throughout
the years. He would say, darling, you know you and those children
will always have a place with Julie and me. Seventeen years of a pure,
honest friendship. Not one time throughout the years did I ever have
to question his trust or loyalty.
       I remember him shedding a tear, knowing he was at risk of
losing his family. My heart is broken because my rock, my friend,
began crumbling.
       My dear friends are amazing people. People who take time to
help other people. They are concerned with factors that change the
world and the communities we live in.
       Todd has taught his children to have an amazing work ethic
since I have known him for seventeen years.
       These are wonderful people with the purest of hearts. The world
needs more people like the Chrisleys.” – Mauri Goens

     • “I’ve had the privilege to call Todd Chrisley a friend for about
six years now. We initially connected through some not-great
circumstances and the “fraternity” that we were both a part of,
supporting a spouse that was battling breast cancer. Todd was a
                                  29
constant encouragement in my life during this season and continues to
be so today. He made a decision to love our family, in the good and
the bad, and I’ve watched him do that for so many others as well.
       Todd just shows up for people. He does so not looking for
anything in return. I can honestly say that he is one of the best and
most genuine men I know. He loves people well, right where they are
and I’m blessed to get to have him as a friend.” – Brandon Janous

     • “I’ve seen Todd go through tough and challenging times over
the years. Regardless of the circumstance, he would always find the
time to encourage someone else that may be going through something
more difficult. At times, he would put his problems to the side and
focus on how to help another person see a blessing in their situation.
       Todd is a good father, grandfather and even more, an awesome
son to his mother. He is devoted to being the very best person he can
for his family. He makes a great effort to making sure they also treat
people with kindness and being overall grateful.” – Angel Johnson

      • “There isn’t a family that loves and supports one another
more than the Chrisleys do. It is not manufactured. They are all
genuinely kind, good hearted, God fearing people, a rare commodity
in this day and age. I say this because I see it in the heart of who Todd
is. There hasn’t ever been a time that I’ve needed him that he hasn’t
been there. Through the loss of my father-in-law, the loss of my
father, career changes and uncertainty, he has helped me navigate it
all. He is a man of the highest character and moral integrity.
       I have rarely seen a person who works harder to provide and
care for those he loves and cares about. The evidence is all of the
people that love him back so dearly and are devoted to him. There
isn’t anything I would not trust Todd, or his family with. I love him
dearly and consider him a very close friend. He is loved and respected
in our community and those that truly know him, love him and have
nothing but the highest praise for how he treats those around him, and
more importantly, how he conducts his business with the upmost
integrity.” – Jay DeMarcus
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                                VII. CONCLUSION

      Many people rely on Todd Chrisley and will be severely and negatively

impacted when he is sentenced to imprisonment. His mother is one such person.

The concern for her is serious and real based upon her age, infirmities and health.

Likewise, the scores of people who are employed in the production and filming of

the Chrisley television shows will be harmed when he is incarcerated. All of these

considerations are appropriate when determining a reasonable sentence for Todd

Chrisley.

      The combination of factors set forth above permits a sentence for Todd

Chrisley that both recognizes the severity of his offenses and respects the reality of

his circumstances. He has fully accounted for all income— filed corrected and

amended tax returns; paid the additional taxes, interest and penalties. A below

Guideline sentence with accompanying conditions is warranted.

      WHEREFORE, for all of the reasons stated above, it is respectfully

requested that the Court exercise its discretion and downwardly depart from the

advisory Guideline sentence range and impose a combined sentence of limited

incarceration, supervised release and restitution.



                                       Respectfully submitted,

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                          /s/ Bruce H. Morris
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                          CERTIFICATE OF SERVICE



      I hereby certify that I have this day filed the foregoing “DEFENDANT
TODD CHRISLEY’S MEMORANDUM IN SUPPORT OF A BELOW
GUIDELINE SENTENCE” through this District’s ECF system, which will
automatically serve all counsel of record.

      This 15th day of November, 2022.


                                       /s/ Bruce H. Morris
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